
393 Mich. 254 (1974)
224 N.W.2d 281
CITY OF YPSILANTI
v.
CIVIL RIGHTS COMMISSION
Docket No. 56252.
Supreme Court of Michigan.
December 23, 1974.
Kenneth Bronson, City Attorney, and Walter K. Hamilton, Assistant City Attorney, for plaintiff. Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, and Michael A. Lockman and Howard E. Goldberg, Assistants Attorney General, for defendant.

ORDER
On order of the Court, the application by defendant and appellant for leave to appeal is considered and the same is hereby granted.
Pursuant to GCR 1963, 865.1(7) the Court peremptorily affirms the determination of the Court of Appeals that the Civil Rights Commission has jurisdiction over the subject matter of the instant litigation. The order of the Court of Appeals remanding the matter to the trial court for entry of judgment granting superintending control over the Civil Rights Commission is hereby reversed, for the reasons set forth in the dissenting opinion of Judge DANHOF in City of Ypsilanti v Civil Rights Commission, 55 Mich App 103, 110 (1974). The matter is hereby remanded to the Civil Rights Commission for further proceedings consistent with this order.
